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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

        Plaintiffs,                                 Case No. 1:20-cv-03010-APM
 v.
                                                    HON. AMIT P. MEHTA
Google LLC,

        Defendant.




State of Colorado, et al.,

        Plaintiffs,                                 Case No. 1:20-cv-03715-APM
 v.
                                                    HON. AMIT P. MEHTA
Google LLC,

        Defendant.


       [PROPOSED] ORDER GRANTING MOTION BY AMERICAN ECONOMIC
       LIBERTIES PROJECT FOR LEAVE TO FILE BRIEF AS AMICUS CURIAE

       Upon this Court’s review and full consideration of the Motion by American Economic

Liberties Project for Leave to File a Brief as Amicus Curiae in the above-captioned actions, and

there appearing good cause to grant leave, it is hereby ORDERED that the Motion is

GRANTED, and the attached proposed amicus curiae brief shall be deemed submitted.



Dated:________________                          ______________________________________
                                                HONORABLE AMIT P. MEHTA
                                                UNITED STATES DISTRICT JUDGE




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